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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

JOHN K. LUCE, H,
Plaintiff,

-against-

YRC INC., YRC INC. d/b/a YELLOW FREIGHT;
YRC WORLDWIDE ENTERPRISE SERVICES, INC.
YRC FREIGHT;

YRC WORLDWIDE, INC.;

YELLOW FREIGHT SYSTEM INC.;

+

Defendants.

Docket No.:
1:21-cv-00718 (GTS/DIS)

NOTICE OF APPEARANCE

 

PLEASE TAKE NOTICE, Andrew W. Kirby, Esq., of the law firm of Conway &

Kirby, PLLC, pursuant to Local Rule 83.2(a), hereby appears as counsel of record for the

plaintiff, John K. Luce, II, in the above-referenced action.

a

Dated: July 27, 2021 CONWAY & KIRBY, PLLC Sf

ANDREW

. KIRBY

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Case 1:21-cv-00718-GTS-DJS Document6 Filed 07/27/21

MARK F. WERLE, ESQ.

Bar Roll #510430

RYAN SMITH & CARBINE, P.C.

Attorneys for Defendants

YRC Inc.; YRC Inc. d/b/a YRC Freight, i/s/h/a “YRC Freight”,
i/s/h/a YRC Worldwide, Inc., i/s/h/a Yellow Freight System Inc.,
and improperly stated to be d/b/a “Yellow Freight”; and

YRC Worldwide Enterprise Services, Inc.

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